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EXHIBIT 10
 

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_ June 22, 2009

VIA E-MAIL AND REGULAR MAIL

 

Howard Fetner

Day Pitney LLP

1 Audubon Street
New Haven, CT 06511

Re: Dongguk University v. Yale University, No. 3:03-CV-00441 (RNC)

Dear Howie:

 

I write concerning Yale’s responses to Dongguk’s Requests for Admission (the
“Requests”) and in response to your letter on June 12, 2009 concerning Dongguk’s responses to
Yale’s Requests to Admit.

Yale’s Responses to Dongguk’s Requests

We do not believe that Yale has complied with the applicable legal standard in
responding to the Requests. In responding to a Request, “a party is required to admit or deny,
even though it lack[s] any personal knowledge, if the means of information [is] reasonably
within its power.” 8 C. Wright & A. Miller, Federal Practice and Procedure, § 2261, at 558 (2d
ed, 1994), Courts in the Second Circuit have consistently held that a “reasonable inquiry” in
responding to a Request requires the “investigation and inquiry of any of defendant’s officers,
administrators, agents, employees, servants, enlisted or other personnel, who conceivably may
lead to or furnish the necessary and appropriate response. In this connection, relevant documents
and regulations must be reviewed as well.” Diederich v. Dep't of the Army, 132 F.R.D. 614, 619
(S.D.N.Y. 1990); see also Concerned Citizens of Belle Haven v. The Belle Haven Club, 223
F.R.D. 39, 44 @. Conn. 2004) (“Rule 36 requires the responding party to make a reasonable
inquiry, a reasonable effort, to secure information that is readily available from persons and
documents within the responding party’s relative control.”) {internal quotations omitted).

Moreover, as the goal of Rule 36 is to “narrow the scope of issues for trial,” a request that
“seek[s] admission as to the content of certain documents” “is a proper use” of the Rule. Meyers
y. Hermans Sporting Goods, Inc., Nos. MDL 777 88-7403 (RO), 87 Civ. 7837 (RO), 1989 U.S.
Dist. LEXIS 6956, at *3-4 (S.D.N.Y. June 23, 1989); see also Sec. and Exch. Comm’n v.
Thrasher, 92 Civ. 6987 (JFK), 1996 U.S. Dist. LEXIS 13016, at *20 (S.D.N.Y. Sept. 6, 1996)
(“[I]t is not improper for a party to request that his adversary admit or contest the requesting
party’s interpretation of a document.”). Thus, a party cannot claim lack of personal knowledge

US. practice conducted through McDermott Will & Emery LLP.
340 Madison Avenue New York, New York 10173-4922 Telephone: +1 212 647 5400 Facsimile: +4 212 S476444 wwwanwa.com
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as to these types of Requests, but rather must either admit or deny the substance of the request.
See-Diederich, 132 F.R.D at 617 (“a request for admission as to the meaning of a document...
may be simply admitted or denied by defendant”).

= ¢ “For the reasons set forth below, the following responses to Dongguk’s Requests are
inadequate. ,

Requests for Admission Numbers 15, 16, 17, 18, 19

These Requests ask Yale to admit or deny: (i) that Euiyon Cho sent a July 6, 2007 e-mail
to Pamela Schirmeister, and the contents of the e-mail, (ii) that an automatic response was
generated by Schirmeister’s e-mail system, and the contents of the automatic response, and (iii)
that Schirmeister did not respond to the July 6, 2007 e-mail. Your response to each Request
states. that “Yale lacks knowledge or information sufficient to enable it to admit or deny. After
making reasonable inquiry, the information that Yale knows or can readily obtain is insufficient
to enable it to admit or deny.”

We cannot understand why Yale cannot answer these Requests. The answer to each can
easily be determined. Specifically, if Yale searched its e-mail server, or even less, searched the
e-mail inbox and outbox of Schrimeister, it would be able to respond to this Request.
Furthermore, Yale could simply ask Schirmeister about the e-mails in these Requests. Thus, we
do not understand what possible “reasonable inquiry” was made by Yale in claiming that it
cannot admit or deny this Request.

To aid in your reasonable inquiry, we are attaching hereto as Exhibit A copies of the July
6, 2007 e-mail from Cho to Schirmeister and the July 6, 2007 automatic response from
Schirmeister. If Yale stil! maintains that a “reasonable inquiry” was made, please let us know
what steps were taken in attempting to answer this Request.

Requests for Admission Numbers 22, 25, 26, 27, 30,31, 38, 41, 42, 51, 52, 53, 56, 57, 38, 61,
62

These Requests ask Yale to admit or deny that Gila Reinstein made statements to various
Korean newspapers, as well as whether she acted in the scope of her employment in making
those statements. In Request numbers 22, 26, 27, 31, 38, 42, 52, 53, 57, 58, and 62, your
responses state that “Yale lacks knowledge or information sufficient to enable it to admit or deny
whether Reinstein made the statement attributed to her.” In Request numbers 25, 30, 41, 51, 56,
and, 61, your responses state that “Yale lacks knowledge or information sufficient to enable it to
admit or deny. After making reasonable inquiry, the information that Yale knows or can readily
obtain is insufficient to enable it to admit or deny.”

These responses are baffling to us. We understand that Reinstein is a current employee
of Yale. Even if she were not, a simple question to Reinstein asking if she made the statement(s)
in the articles would presumably elicit an answer to these Requests. Further, if she did make the
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statements, Yale can clearly answer whether or not she was acting in the scope of her
employment in making those statements. Yale cannot in good faith state that it has made a
“reasonable inquiry” to answer these Requests, If Yale still maintains that a “reasonable
-inquiry” was made, please let us know what steps were taken in attempting to answer this

 

Requests for Admission Numbers 24, 29, 40, 45, 50, 55, 60

These Requests ask Yale to admit or deny whether the translations of various Korean
newspaper articles into English are accurate. Your response to each Request states that “Yale
lacks knowledge or information sufficient to enable it to admit or deny, After making reasonable
inquiry, the information that Yale knows or can readily obtain is insufficient to enable it to admit
or deny.”

Your response is improper. We are simply asking Yale to confirm whether it agrees with
Dongguk’s translation of the article in the Request. Furthermore, as you acknowledged in your
June 17, 2009 e-mail to Jean Bae, you have retained translators to assist in translating documents
in the case. One of these translators would be able to tell you whether the translation that is the
subject of each Request is accurate. Please admit or deny each Request, and if you deny the
Request explain why. ,

Requests for Admission Numbers 76, 77

These Requests ask Yale to admit or deny that the .pdf of the mailing label from the
September 5 Registered Letter was attached to Cho’s September 3, 2007 email to Susan Carney,
and that a true and correct copy of the mailing label was attached to the Request. Your response
to each Request states that “[alfter a reasonable inquiry”, “Yale lacks knowledge or information
sufficient to enable it to admit or deny” the Requests, specifically whether the “document was a
mailing label for the September 5 Registered Letter”.

Your response is again improper as a “reasonable inquiry” would easily allow for Yale to
admit or deny these Requests. As Yale has already acknowledged that it received the September
5 Registered Letter, by simply looking in the file containing the letter and corresponding
envelope, Yale would presumably be able to answer this Request. If Yale still maintains that a
“reasonable inquiry” was made, please let us know what steps were taken in attempting to
answer this Request.

Requests for Admission Numbers 48, 49, 54

These Requests ask Yale to admit or deny the date of publication and the contents of: (i)
the July 19, 2007 Macil Business Newspaper article and (2) the July 19, 2007 Chosun Ibo
article. Your response to each Request states that “Yale lacks knowledge or information
sufficient to enable it to admit or deny. After making reasonable inquiry, the information that
Yale knows or can readily obtain is insufficient to enable it to admit or deny.”
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This response is improper because a “reasonable inquiry” would easily allow for Yale to
admit or deny these Requests. Requests 48 and 49 merely ask Yale to confirm the date the
article was published and that the copy of the article attached is a true and correct copy. Request

" §4 also only asks Yale to confirm that the copy of the article attached is a true and correct copy.

‘Tf Yale still maintains that a “reasonable inquiry” was made, please let us know what steps:were

taken:in attempting to answer this Request.
Please revise your responses to Dongguk’s Requests for Admission accordingly.
Dongguk’s Responses to Yale’s Requests to Admit

We are in receipt of your letter dated June 12, 2009, which points out purported
deficiencies of our responses to Yale’s Requests to Admit. Below are our responses to your
specific inquiries.

Request to Admit 3

We direct Yale to Dongguk’s Supplemental Answers and Objections to Yale’s First Set
of Requests to Admit, attached hereto as Exhibit B.

Request to Admit 7

Dongguk maintains its objection that the term “original” is vague and ambiguous.
Subject to and without waiving the foregoing specific objection and the General Objections,
Dongguk denies this Request for the reasons stated in its answers.

Regnest to Admit 11

Dongguk maintains its objection that the phrases “participated” and “decision to hire” are
vague and ambiguous. Subject to and without waiving the foregoing specific objection and the
General Objections, Dongguk denies this Request for the reasons stated in its responses.

Request to Admit 19

We direct Yale to Dongguk’s Supplemental Answers and Objections to Yale’s First Set
of Requests to Admit, attached hereto as Exhibit B.

Request to Admit 20

We direct Yale to Dongguk’s Supplemental Answers and Objections to Yale’s First Set
of Requests to Admit, attached hereto as Exhibit B.
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Reguest to Admit 21
"We direct Yale to Dongguk’s Supplemental Answers and Objections to Yale’s First Set

Contrary to Yale’s demand, Dongguk is not required to admit or deny these Requests
because the only way for Dongguk to answer the Requests would be to rely on the copy of the
Korean judgment provided to us by Yale, which Dongguk has no way of authenticating. As a
Connecticut Superior Court has held, a “party need not, in answering the request, rely on
information provided by others if the party itself lacks first hand knowledge of the information,
had no control or input into preparation of the document, and lacks sworn testimony or other
reliable means for crediting the information provided by others.” Fusco v. Middlesex Mutual
Assurance Co., CV075011691S, 2008 Conn. Super. LEXIS 2028, at *7 (Super. Ct. Conn. Aug.
7, 2008),

ce: ‘Felix J. Springer, Esq.
. ra Grudberg, Esq.
Robert A. Weiner, Esq.
Audrey Lu, Esq,
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